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  IT IS ORDERED as set forth below:



  Date: June 15, 2022
                                                 _____________________________________
                                                               Paul Baisier
                                                       U.S. Bankruptcy Court Judge
                                   Signed as Revised by the Court
 _______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                     )      CHAPTER 11
                                           )
ATLANTA LIGHT BULBS, INC.,                 )      CASE NO.: 22-52950-PMB
                                           )
         Debtor.                           )

     ORDER APPROVING APPLICATION FOR ORDER AUTHORIZING AND
 APPROVING EMPLOYMENT OF BAKER, DONELSON, BEARMAN, CALDWELL &
              BERKOWITZ, P.C. AS CO-COUNSEL FOR THE
         OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
         ATLANTA LIGHT BULBS, INC., SUBJECT TO OBJECTION

         The Official Committee of Unsecured Creditors (“Committee”) filed on June 13, 2022

[Docket No. 50] an Application for Order Authorizing and Approving Employment of Baker,

Donelson, Bearman, Caldwell & Berkowitz, P.C. as Co-Counsel for the Official Committee of

Unsecured Creditors of Atlanta Light Bulbs, Inc., Nunc Pro Tunc to June 10, 2022 (the

“Applicant”) as co-counsel for the Committee in this case (the “Application”). No hearing is
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necessary on the Application absent the filing of an objection to it. Pursuant to a certificate of

service filed with or attached to the Application, the Application has been served on the United

States Trustee as required by Federal Rule of Bankruptcy Procedure 2014, and all parties in

interest in this case, and any party that has filed a notice of appearance or request for notices in

this case as of the date of the filing of the Application. No further service of the Application is

necessary.

        The Application and accompanying affidavit of Kathleen G. Furr demonstrate

preliminarily that the Applicant are attorneys qualified to practice in this Court and are

disinterested. Accordingly, it is hereby

        ORDERED that, pursuant to 11 U.S.C. § 327 and Federal Rule of Bankruptcy

Procedure 2014, the Application is GRANTED, and the Committee is authorized to employ the

Applicant as its co-counsel for the Committee during the Debtor’s Chapter 11 case, subject

to objection as provided for herein; and it is further

        ORDERED that compensation may be paid and expenses reimbursed to the Applicant

only pursuant to an application filed and approved by this Court pursuant to 11 U.S.C. §§ 330,

331, Federal Rule of Bankruptcy Procedure 2016, the Local Rules, applicable orders of this

Court, and the guidelines, practices and customs of the United States Trustee, unless the Court

orders otherwise; and it is further

        ORDERED that any party in interest shall have twenty-one (21) days from the service

of this Order to file an objection to the Application and/or the relief provided in this Order; and

it is further




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       ORDERED that if an objection is timely filed counsel for the Committee will set the

Application and all such objections for hearing pursuant to the Court’s Open Calendar

Procedures; and it is further

       ORDERED that if no objection to this Order is timely filed, this Order shall be a final

Order approving the Application; and it is further

       ORDERED that counsel for the Committee shall, within three (3) days of the entry of this

Order, cause a copy of this Order to be served by first class mail, postage prepaid, on all parties

served with the Application, and shall file promptly thereafter a certificate of service

confirming such service.



                                    ### END OF ORDER ###




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Prepared and presented by:

 /s/Kathleen G. Furr
Kathleen G. Furr (GA Bar No. 589008)
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[Proposed] Co-Counsel for the Official Committee
of Unsecured Creditors of Atlanta Light Bulbs, Inc.




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